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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 21-cv-21079-BLOOM/Otazo-Reyes

 SECURITIES AND EXCHANGE
 COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.
 and GUY GENTILE,

       Defendants.
 ____________________________________/

                     ORDER ON MOTION FOR EXTENSION OF TIME
                       TO EFFECTUATE SERVICE OF PROCESS

        THIS CAUSE is before the Court upon Plaintiff’s Motion for a 90-Day Extension of Time

 to Effectuate Service of Process on Defendants. ECF No. [6] (“Motion”). Federal Rule of Civil

 Procedure 4(m) requires service of the summons and complaint to be perfected upon defendants

 within 90 days after the filing of the complaint. Plaintiff filed this case on March 22, 2021, see

 ECF No. [1], generating a June 21, 2021, service deadline. In the Motion, Plaintiff asserts that it

 has not yet been able to serve the Defendants following numerous attempts at two locations, and

 therefore requests an extension until September 20, 2021. Upon review, Plaintiff has demonstrated

 good cause for the requested extension.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. Plaintiff’s Motion, ECF No. [6], is GRANTED.

            2. Plaintiff shall serve Defendants no later than September 20, 2021.

            3. Within seven (7) days of perfecting service upon Defendants, Plaintiff shall file

                proof of such service with the Court.
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              4. Failure to effectuate service of a summons and the complaint on any Defendant by

                 the stated deadline will result in dismissal as to Defendant without prejudice and

                 without further notice.

        DONE AND ORDERED in Chambers at Miami, Florida, on June 21, 2021.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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